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                                                         New York, New York 10020-1089
                                                         Two World Financial Center
                                                         New York, New York 10281-1008



LEHMAN BROTHERS HOLDINGS, INC.
1271 AVENUE OF THE AMERICAS                                                                           October 12, 2010
NEW YORK, NEW YORK, NY 10020
                                                                                                   Invoice No. 1247140

Client/Matter: 21416248-0851

301 HOWARD                                                                                   Payment Due Upon Receipt




Lehman Contact: Thomas Buffa


Total This Invoice                                                                             $         27,059.00




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          SNR Denton US LLP                                                   SNR Denton US LLP
            Dept. 7247-6670                         OR                        Attention: Accounting
     Philadelphia, PA 19170-6670                                             233 South Wacker Drive
                                                                             Chicago, IL 60606-6404



                                Payment by wire transfer should be sent to:

                                             Citibank, N.A.
                                       New York, New York 10043
                                       ABA Transit # 021 000 089
                                          Account # 4064-5823
                                   Account Name: SNR Denton US LLP


          All payments must be in U.S. Dollars - Federal Tax I.D. Number XX-XXXXXXX

                      Questions relating to this invoice should be directed to:
                                            M. Williams
                                        at 1 212 768 6700
           08-13555-mg      Doc 29194-6   Filed 07/03/12 Entered 07/03/12 16:56:02 Exhibit D3
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                                                         116Denton US LLP        snrdenton.com
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                                                        New York, New York 10020-1089
                                                        Two World Financial Center
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LEHMAN BROTHERS HOLDINGS, INC.                                                                 October 12, 2010
1271 AVENUE OF THE AMERICAS
NEW YORK, NEW YORK, NY 10020                                                                Invoice No. 1247140




Client/Matter: 21416248-0851

301 HOWARD
___________________________________________________________________________________________________
For Professional Services Rendered through September 30, 2010:
Date          Timekeeper                        Hours   Task Narrative
09/13/10      M. Williams                        1.10   P300 Telephone conference with Messrs. Buffa and NG
                                                             regarding status of executed loan documents for
                                                             the Rakes corporate loan, status of securities
                                                             account control agreement, UCC filing, perfected
                                                             security interest in the event of borrower
                                                             bankruptcy and response to borrowers "term
                                                             sheet" for the workout,(1.0), office conference with
                                                             S. Cerniglia regarding status of executed loan
                                                             documents for Rakes(0.1).
09/15/10      M. Williams                        0.50   P300 Telephone conference with Mr. Buffa regarding
                                                             strategy of response to CW Capital term sheet for
                                                             the Rakes, 10UCP and mezz corporate loans (0.4),
                                                             review intercreditor agreement regarding Lehman
                                                             as a Qualified transferee (.1)
09/22/10      M. Williams                        1.00   P300 Telephone conference with Messrs. Buffa, NG
                                                             regarding method and mechanics of calculating
                                                             margin call, interpretation of loan document
                                                             language (.7), discuss approach to Borrower in
                                                             connection with workout negotiations (.3)
09/23/10      M. Williams                        1.00   P400 Review margin call letter, (.3) telephone
                                                             conference with Mr. Ng regarding margin call
                                                             letter,(.1) revise margin call letter to include
                                                             references to first amendment, default interest and
                                                             references to PNA, (.4) distribute same to Messrs.
                                                             Ng and Buffa (.1), telephone conference with Mr.
                                                             Buffa regarding method of delivery (.1)
09/27/10      M. Williams                        3.00   P300 At request of Mr. NG and Ms. Martins, initial draft
                                                             of bullet point memo on steps in UCC foreclosure
                                                             of the 301 Howard mezz corporate loan, the 301
                                                             Howard rakes corporate loan (2.0), and the 10UCP
                                                             repurchase agreement (1.0)
09/27/10      M. Cunningham                      0.70   B101 Review transfer restrictions related to Rake Bonds
                                                             in offering documents and pooling and servicing
                                                             agreement (0.7)




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301 HOWARD
                                                                                                  October 12, 2010
Matter: 21416248-0851
Invoice No.: 1247140

Date          Timekeeper                        Hours   Task Narrative
09/27/10      M. Cunningham                      0.40   B101 Draft correspondence setting forth transfer
                                                             restrictions related to Rake Bonds (0.4).
09/27/10      E. Klingenberg                     1.60   B110 Conference with M. Williams regarding Lehman
                                                             repo enforcement (0.2); conferences with M.
                                                             Cunningham regarding transfer restrictions (0.1);
                                                             conferences with M. Williams (0.2); review
                                                             loan/repo documents (0.8) email regarding
                                                             remedies (0.3).
09/28/10      E. Klingenberg                     1.50   B101 Calls and conferences with M. Williams regarding
                                                             UCC FC process for securities (1.5);
09/28/10      P. Mignone                         1.00   P500 Review summary of UCC foreclosure process
                                                             (0.6); office conference with M. Williams re: same
                                                             (0.4).
09/28/10      J. Grebinar                       11.50   B101 Review of Repo Agreement and Confirmation re:
                                                             remedies upon Event of Default (2.2); review of
                                                             UCC re: enforcement of security interest in Rake
                                                             Bonds (1.8); conference with E. Klingenberg and
                                                             litigation department re: same (1.2); prepare memo
                                                             (6.4).
09/28/10      D. Wingo                           1.00   B120 Telephone conference with J. Grebinar regarding
                                                             collateral issues and enforcement alternatives and
                                                             attendant issues in connection with same (0.5);
                                                             review and analyze applicable UCC and case law
                                                             regarding same and follow up with Grebinar (0.5).
09/28/10      M. Williams                        2.30   P300 Office conference with P. Mignone regarding draft
                                                             of enforcement memo,(.2), telephone conference
                                                             with E. Klingenberg regarding enforcement and
                                                             transfer issues on Rakes (.3), review co -lender
                                                             agreement for rakes, intercreditor agreement for
                                                             301 Mezz regarding definitions of qualified
                                                             transferees (.4), revise enforcement memo (1.3)
                                                             and distribute same to Messrs. Buffa, Ng and Ms.
                                                             Martins (.1)
09/29/10      J. Grebinar                        6.10   B101 Review of Repo Agreement and Confirmation re:
                                                             remedies upon Event of Default (0.9); review of
                                                             UCC re: enforcement of security interest in Rake
                                                             Bonds (1.3); conference with E. Klingenberg and
                                                             litigation department re: same (1.1); prepare memo
                                                             (2.8).




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301 HOWARD
                                                                                                   October 12, 2010
Matter: 21416248-0851
Invoice No.: 1247140

Date          Timekeeper                        Hours   Task Narrative
09/29/10      M. Williams                        3.00   P300 Office conference with E. Klingenberg regarding
                                                             enforcement of UCC 9 security interest in article 8
                                                             securities(.3), telephone conference with Ms.
                                                             Martins, Messrs. Buffa, Ng, Gupta, Siddons
                                                             regarding foreclosure and remedies summary,
                                                             discuss next steps on rakes (1.2), review loan
                                                             documents for 301 mezz, rakes and 10UCP
                                                             provisions with respect to lender's rights to inspect
                                                             books and records, qualified transferee
                                                             requirements, and prepare summary of same and
                                                             distribute (1.5)
09/29/10      E. Klingenberg                     1.10   B101 Emails and conferences with M. Williams and J.
                                                             Grebinar regarding repo and FC process (1.1).
09/30/10      E. Klingenberg                     1.50   B101 Review and revise repo remedies memo (0.4); call
                                                             with J. Grebinar regarding same (0.3); review
                                                             emails regarding UCC process for rates (0.3); call
                                                             with J. Grebinar regarding same (0.5).
09/30/10      M. Williams                        0.50   P300 Review TPW emails and paper files regarding
                                                             signature pages, status of drafts with respect to the
                                                             Rakes loan and security agreement(.4). telephone
                                                             conference with Mr. Buffa regarding potential
                                                             conflict issue (.1)
09/30/10      J. Grebinar                        3.90   B101 Revise memo (2.9); meet with M. McGrath re: UCC
                                                             provisions re: foreclosure (0.5); conference with E.
                                                             Klingenberg (0.5).
Total Hours                                     42.70
Fee Amount                                                                                              $27,059.00




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301 HOWARD
                                                                                          October 12, 2010
Matter: 21416248-0851
Invoice No.: 1247140



                                           TIME AND FEE SUMMARY


       Timekeeper                                              Rate        Hours                     Fees
       E. Klingenberg                                       $900.00          5.70              $5,130.00
       M. Williams                                          $815.00         12.40            $10,106.00
       P. Mignone                                           $645.00          1.00                  $645.00
       D. Wingo                                             $655.00          1.00                  $655.00
       J. Grebinar                                          $470.00         21.50            $10,105.00
       M. Cunningham                                        $380.00          1.10                  $418.00
       Totals                                                               42.70            $27,059.00

                        Fee Total                              $      27,059.00


                        Invoice Total                          $      27,059.00




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                                                         Two World Financial Center
                                                         New York, New York 10281-1008



LEHMAN BROTHERS HOLDINGS, INC.
ACCOUNTING DEPT.                                                                                      October 12, 2010
1271 AVENUE OF THE AMERICAS, 45TH FLOOR
NEW YORK, NY 10020                                                                                 Invoice No. 1247134

Client/Matter: 21416248-0814

SALE OF WYNDHAM MEZZ LOAN                                                                    Payment Due Upon Receipt




Lehman Contact: Susanne Frey


Total This Invoice                                                                             $          2,037.50




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            Dept. 7247-6670                         OR                        Attention: Accounting
     Philadelphia, PA 19170-6670                                             233 South Wacker Drive
                                                                             Chicago, IL 60606-6404



                                Payment by wire transfer should be sent to:

                                             Citibank, N.A.
                                       New York, New York 10043
                                       ABA Transit # 021 000 089
                                          Account # 4064-5823
                                   Account Name: SNR Denton US LLP


          All payments must be in U.S. Dollars - Federal Tax I.D. Number XX-XXXXXXX

                      Questions relating to this invoice should be directed to:
                                            M. Williams
                                        at 1 212 768 6700
           08-13555-mg        Doc 29194-6   Filed 07/03/12 Entered 07/03/12 16:56:02 Exhibit D3
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                                                          New York, New York 10281-1008




LEHMAN BROTHERS HOLDINGS, INC.                                                                    October 12, 2010
ACCOUNTING DEPT.
1271 AVENUE OF THE AMERICAS, 45TH FLOOR                                                        Invoice No. 1247134
NEW YORK, NY 10020




Client/Matter: 21416248-0814

SALE OF WYNDHAM MEZZ LOAN
___________________________________________________________________________________________________
For Professional Services Rendered through September 30, 2010:
Date            Timekeeper                        Hours   Task Narrative
09/21/10        M. Williams                        0.50   P300 Telephone conference with Ms. Frey regarding
                                                               preparation of pre-negotiation agreement for
                                                               corporate loan and junior participation (.2), review
                                                               corporate loan agreement and participation
                                                               agreement for provisions regarding lender right to
                                                               inspect underlying property (.2), draft and email
                                                               summary of relevant provisions to ms. Frey (.1)
09/22/10        M. Williams                        2.00   P400 Draft pre-negotiation agreement for the corporate
                                                               loan (1.0), draft pre-negotiation agreement for
                                                               participation agreement(1.0)
Total Hours                                        2.50
Fee Amount                                                                                                 $2,037.50



                                            TIME AND FEE SUMMARY


       Timekeeper                                                   Rate              Hours                     Fees
       M. Williams                                              $815.00                 2.50               $2,037.50
       Totals                                                                           2.50               $2,037.50


                        Fee Total                                   $          2,037.50


                       Invoice Total                                 $          2,037.50




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                                                         New York, New York 10020-1089
                                                         Two World Financial Center
                                                         New York, New York 10281-1008



LEHMAN BROTHERS HOLDINGS, INC.
ACCOUNTING DEPT.                                                                                      October 12, 2010
1271 AVENUE OF THE AMERICAS, 45TH FLOOR
NEW YORK, NY 10020                                                                                 Invoice No. 1247133

Client/Matter: 21416248-0813

HOUSTON RENAISSANCE LOAN MODIFICATION                                                        Payment Due Upon Receipt




Lehman Contact: Susanne Frey


Total This Invoice                                                                             $          1,059.50




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            Dept. 7247-6670                         OR                        Attention: Accounting
     Philadelphia, PA 19170-6670                                             233 South Wacker Drive
                                                                             Chicago, IL 60606-6404



                                Payment by wire transfer should be sent to:

                                             Citibank, N.A.
                                       New York, New York 10043
                                       ABA Transit # 021 000 089
                                          Account # 4064-5823
                                   Account Name: SNR Denton US LLP


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                      Questions relating to this invoice should be directed to:
                                            M. Williams
                                        at 1 212 768 6700
           08-13555-mg        Doc 29194-6   Filed 07/03/12 Entered 07/03/12 16:56:02 Exhibit D3
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LEHMAN BROTHERS HOLDINGS, INC.                                                                    October 12, 2010
ACCOUNTING DEPT.
1271 AVENUE OF THE AMERICAS, 45TH FLOOR                                                        Invoice No. 1247133
NEW YORK, NY 10020




Client/Matter: 21416248-0813

HOUSTON RENAISSANCE LOAN MODIFICATION
___________________________________________________________________________________________________
For Professional Services Rendered through September 30, 2010:
Date            Timekeeper                        Hours   Task Narrative
09/22/10        M. Williams                        1.30   P400 Draft pre-negotiation agreement for corporate
                                                               loan (1.3)
Total Hours                                        1.30
Fee Amount                                                                                                 $1,059.50



                                            TIME AND FEE SUMMARY


       Timekeeper                                                   Rate              Hours                     Fees
       M. Williams                                              $815.00                 1.30               $1,059.50
       Totals                                                                           1.30               $1,059.50


                        Fee Total                                   $          1,059.50


                       Invoice Total                                 $          1,059.50




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                                                         116Denton US LLP       snrdenton.com
                                                         1221 Avenue of the Americas, 25th
                                                         Floor
                                                         New York, New York 10020-1089
                                                         Two World Financial Center
                                                         New York, New York 10281-1008



LEHMAN BROTHERS HOLDINGS, INC.
ACCOUNTING DEPT.                                                                                      October 12, 2010
1271 AVENUE OF THE AMERICAS, 45TH FLOOR
NEW YORK, NY 10020                                                                                 Invoice No. 1247132

Client/Matter: 21416248-0807

FIVE ASSETS PORTFOLIO SALE                                                                   Payment Due Upon Receipt




Lehman Contact: Thomas Buffa


Total This Invoice                                                                             $            244.50




                              Please return this page with your payment

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          SNR Denton US LLP                                                   SNR Denton US LLP
            Dept. 7247-6670                         OR                        Attention: Accounting
     Philadelphia, PA 19170-6670                                             233 South Wacker Drive
                                                                             Chicago, IL 60606-6404



                                Payment by wire transfer should be sent to:

                                             Citibank, N.A.
                                       New York, New York 10043
                                       ABA Transit # 021 000 089
                                          Account # 4064-5823
                                   Account Name: SNR Denton US LLP


          All payments must be in U.S. Dollars - Federal Tax I.D. Number XX-XXXXXXX

                      Questions relating to this invoice should be directed to:
                                            M. Williams
                                        at 1 212 768 6700
           08-13555-mg        Doc 29194-6   Filed 07/03/12 Entered 07/03/12 16:56:02 Exhibit D3
                                                  Pg 78 of SNR
                                                           116Denton US LLP        snrdenton.com
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                                                          Two World Financial Center
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LEHMAN BROTHERS HOLDINGS, INC.                                                                    October 12, 2010
ACCOUNTING DEPT.
1271 AVENUE OF THE AMERICAS, 45TH FLOOR                                                        Invoice No. 1247132
NEW YORK, NY 10020




Client/Matter: 21416248-0807

FIVE ASSETS PORTFOLIO SALE
___________________________________________________________________________________________________
For Professional Services Rendered through September 30, 2010:
Date            Timekeeper                        Hours   Task Narrative
09/08/10        M. Williams                        0.30   P300 Telephone conference with Mr. Buffa regarding
                                                               forwarding of back up calculations of property
                                                               value used in margin call calculation to borrower
                                                               (0.3).
Total Hours                                        0.30
Fee Amount                                                                                                   $244.50



                                            TIME AND FEE SUMMARY


       Timekeeper                                                   Rate              Hours                     Fees
       M. Williams                                              $815.00                 0.30                 $244.50
       Totals                                                                           0.30                 $244.50


                        Fee Total                                   $             244.50


                       Invoice Total                                 $            244.50




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                                                         1221 Avenue of the Americas
                                                         New York, New York 10020-1089
                                                         Two World Financial Center
                                                         New York, New York 10281-1008



LEHMAN BROTHERS HOLDINGS, INC.
ACCOUNTING DEPT.                                                                                  October 22, 2010
1271 AVENUE OF THE AMERICAS, 45TH FLOOR
NEW YORK, NY 10020                                                                             Invoice No. 1250214

Client/Matter: 21416248-0838

SERVICING MATTERS                                                                        Payment Due Upon Receipt




Total This Invoice                                                                         $          1,854.00




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          SNR Denton US LLP                                                  SNR Denton US LLP
            Dept. 7247-6670                         OR                       Attention: Accounting
     Philadelphia, PA 19170-6670                                            233 South Wacker Drive
                                                                            Chicago, IL 60606-6404



                                Payment by wire transfer should be sent to:

                                             Citibank, N.A.
                                       New York, New York 10043
                                       ABA Transit # 021 000 089
                                          Account # 4064-5823
                                   Account Name: SNR Denton US LLP


          All payments must be in U.S. Dollars - Federal Tax I.D. Number XX-XXXXXXX

                      Questions relating to this invoice should be directed to:
                                            M. Williams
                                        at 1 212 768 6700
           08-13555-mg      Doc 29194-6   Filed 07/03/12 Entered 07/03/12 16:56:02 Exhibit D3
                                                Pg 114 ofSNR
                                                          116Denton US LLP       snrdenton.com
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                                                        Two World Financial Center
                                                        New York, New York 10281-1008




LEHMAN BROTHERS HOLDINGS, INC.                                                                October 22, 2010
ACCOUNTING DEPT.
1271 AVENUE OF THE AMERICAS, 45TH FLOOR                                                   Invoice No. 1250214
NEW YORK, NY 10020




Client/Matter: 21416248-0838

BANKRUPTCY (POST-PETITION WORK)
___________________________________________________________________________________________________
For Professional Services Rendered through September 30, 2010:
Date          Timekeeper                        Hours   Task      Activity Narrative
09/08/10      R. Barkachy                        0.60   B250                Conference with M. Williams re:
                                                                            missing allonge, acknowledgement
                                                                            and consent, instruction to register
                                                                            pledge, etc. for WTCC Austin Beta
                                                                            Mezz V, LP. (16248-00766) (.3);
                                                                            research same via TPW legacy site
                                                                            (.3)
09/09/10      R. Barkachy                        0.50   B250                Review TPW files with J. Cammeratti
                                                                            (.2); confirm missing Crescent Austin
                                                                            Mezz B documents not in files (TPW
                                                                            16248-0766) (.1); review CD binder
                                                                            and determine missing documents are
                                                                            shown as attachments to Mezzanine
                                                                            Pledge Agreement; conference with M.
                                                                            Williams re: same (.2)
09/14/10      R. Barkachy                        3.40   B250                Various conferences with S. Cerniglia
                                                                            and M. Williams re: confirmation
                                                                            documents and escrow letters for TPW
                                                                            16248-00816 (RAKES) (1); research
                                                                            files, records, TPW legacy site and
                                                                            RGOTO and Leigh Cortez CDs and
                                                                            files for email confirmations and
                                                                            original documents re: Rakes
                                                                            confirmations as directed (2.4).
09/21/10      R. Barkachy                        0.80   B250                Respond to M. Williams request re:
                                                                            closing binder CDs for 16248-00813
                                                                            and 16248-00814 (.6); obtain one CD
                                                                            and one unbound set of documents
                                                                            (.2).




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BANKRUPTCY (POST-PETITION WORK)
                                                                                                    October 22, 2010
Matter: 21416248-0838
Invoice No.: 1250214

Date            Timekeeper                        Hours   Task      Activity Narrative
09/22/10        R. Barkachy                        2.40   B250              Conference with M. Williams re: TPW
                                                                            16248-00814 and 16248-00813
                                                                            replacement guaranties (.2); research
                                                                            files, records and former paralegal
                                                                            emails for executed replacement
                                                                            guaranties (1.7); review related
                                                                            documents and index (.5).
09/30/10        R. Barkachy                        0.30   B250              Conference with M. Williams re: Rakes
                                                                            documents TPW 16248-00816 (.1);
                                                                            confirm project to pull all of Rebecca
                                                                            Gotos emails from TPW site as
                                                                            requested (.2)
Total Hours                                        8.00
Fee Amount                                                                                               $1,840.00



                                            TIME AND FEE SUMMARY


       Timekeeper                                                  Rate          Hours                       Fees
       R. Barkachy                                               $230.00          8.00                   $1,840.00
       Totals                                                                     8.00                   $1,840.00


                                             DISBURSEMENT DETAIL
Date            Description                                                                               Amount
8/24/2010       Delivery LEHMAN BROS 1271 6TH AVE NY INV. NO. 371733                                          8.00
                                                                                         SUBTOTAL             8.00
                Document reproduction                                                                         6.00
                                                                                         SUBTOTAL             6.00
                Total Disbursements                                                                         $14.00




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BANKRUPTCY (POST-PETITION WORK)
                                                                                            October 22, 2010
Matter: 21416248-0838
Invoice No.: 1250214


                        Fee Total                                $      1,840.00

                        Disbursement Total                      $          14.00


                        Invoice Total                               $    1,854.00




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